             Case 5:18-cr-00258-EJD Document 1604 Filed 10/14/22 Page 1 of 7




 1 JOHN D. CLINE (CA State Bar No. 237759)
   600 Stewart Street, Suite 400
 2 Seattle, WA 98101
   Telephone: (360) 320-6435
 3
   Email: cline@johndclinelaw.com
 4
   KEVIN M. DOWNEY (Admitted Pro Hac Vice)
 5 LANCE A. WADE (Admitted Pro Hac Vice)
   AMY MASON SAHARIA (Admitted Pro Hac Vice)
 6 KATHERINE TREFZ (CA State Bar No. 262770)
   WILLIAMS & CONNOLLY LLP
 7
   680 Maine Avenue, S.W.
 8 Washington, D.C. 20024
   Telephone: (202) 434-5000 │Facsimile: (202) 434-5029
 9 Email: KDowney@wc.com; LWade@wc.com; ASaharia@wc.com; KTrefz@wc.com

10 Attorneys for Defendant ELIZABETH A. HOLMES

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13                             UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN JOSE DIVISION
16

17   UNITED STATES OF AMERICA,              )   Case No. CR-18-00258-EJD
                                            )
18          Plaintiff,                      )   MS. HOLMES’ OPPOSITION TO DR.
                                            )   ROSENDORFF’S MOTION TO QUASH
19     v.
                                            )   SUBPOENA DUCES TECUM
20   ELIZABETH HOLMES and                   )
     RAMESH “SUNNY” BALWANI,                )   Date:    October 14, 2022
21                                          )   Time:    1:00 PM
            Defendants.                     )   CTRM:    4, 5th Floor
22                                          )
                                            )   Hon. Edward J. Davila
23
                                            )
24                                          )
                                            )
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28 MS. HOLMES’ OPPOSITION TO DR. ROSENDORFF’S MOTION TO QUASH SUBPOENA
   DUCES TECUM
   CR-18-00258 EJD
             Case 5:18-cr-00258-EJD Document 1604 Filed 10/14/22 Page 2 of 7




 1          The Court ordered an evidentiary hearing on Ms. Holmes’ Motion for New Trial for the purpose

 2 of exploring the possibility of government misconduct and the truthfulness of Dr. Rosendorff’s

 3 testimony. 10/3/22 Hr’g Tr. 31:9-32:20. Pursuant to Federal Rule of Criminal Procedure 17 and Local

 4 Criminal Rule 17-1, Ms. Holmes served a subpoena on Dr. Rosendorff with two narrow document

 5 requests: (1) non-privileged communications regarding his trial testimony and (2) non-privileged

 6 communications regarding his work with the prosecution or its agents regarding their work and

 7 interactions with Dr. Rosendorff. Dkt. 1602-2 at 4. Dr. Rosendorff’s counsel accepted service of the

 8 subpoena on October 6, 2022, without objection, without any request to narrow its scope, and without

 9 any request to meet and confer. See Koffman Decl., Dkt. 1602-1 ¶ 2. Instead, on October 12, 2022, and

10 without notice to the defense, he moved to quash the subpoena on the basis that the document requests

11 are unreasonable, oppressive, and outside the scope of a hearing on the truthfulness of Dr. Rosendorff’s

12 testimony or potential government misconduct.

13          The Court should deny the motion to quash. The two limited requests are within the scope of the

14 hearing, are reasonable, and are not oppressive. Requests for Dr. Rosendorff’s communications

15 concerning his trial testimony and his interactions with the government (and its agents) are narrowly tied

16 to, and probative of, the subject of the at-issue inquiries. See Dkt. 1602-2. The Court should deny the

17 motion to quash.

18                                               ARGUMENT

19          Federal Rule of Criminal Procedure 17(c) and Local Criminal Rule 17-1 authorize a defendant to

20 seek production of documents at a criminal proceeding. There is no requirement that a defendant seek

21 leave from the Court or obtain a Court Order under these circumstances. L. Crim. R. 17-1. A Court

22 Order is only required when a defendant requests a “subpoena to produce documents or objects in

23 advance of trial or hearing.” Id. at 17-2(a). Rule 17 allows a court to quash or modify a subpoena only

24 “if compliance would be unreasonable or oppressive.” Fed. Crim. P. 17(c)(2).

25          The Court should deny the motion. As an initial matter, the Nixon standard invoked by Dr.

26 Rosendorff is inapplicable since Ms. Holmes has not sought early return of any documents. See Motion

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28 MS. HOLMES’ OPPOSITION TO DR. ROSENDORFF’S MOTION TO QUASH SUBPOENA
   DUCES TECUM
   CR-18-00258 EJD
                                        1
                Case 5:18-cr-00258-EJD Document 1604 Filed 10/14/22 Page 3 of 7




 1 to Quash (Mot.), Dkt. 1602 at 7 (citing United States v. Nixon, 418 U.S. 683, 702 (1974)). On the

 2 merits, because compliance with the two limited requests would be neither unreasonable or oppressive,

 3 Dr. Rosendorff should be required to comply with the requests and produce the documents at the

 4 evidentiary hearing.

 5              The Nixon Standard Does Not Apply and Is Satisfied in Any Event. Relying on Nixon, Dr.

 6 Rosendorff argues that Ms. Holmes must show that the document requests seek “admissible or specific

 7 materials.” Mot. at 9 (citing Nixon, 418 U.S. 683, 700 (1974)).1 That is incorrect. Cases that apply the

 8 Nixon standard do so in the context of a subpoena that seeks the return of documents prior to trial or a

 9 hearing. See, e.g., United States v. Chavez, 2019 WL 5899914, at *3 (N.D. Cal. Nov. 12, 2019) (“Rule

10 17(c) subpoenas may be used to obtain pretrial production of evidence when the moving party can show

11 that the documents are (1) relevant, (2) admissible, and (3) specifically described.” (emphasis added)).

12 Ms. Holmes is not seeking any documents in advance of the hearing.

13          Dr. Rosendorff’s argument that “Rule 17 cannot be used to obtain impeachment materials” fails

14 for the same reason. Mot. at 7. He relies on United States v. Fields, 663 F.2d 880 (9th Cir. 1981), for

15 this proposition but that case likewise involved pre-trial production of documents. See id. at 881 (stating

16 impeachment “is generally insufficient to justify the pretrial production of documents.” (emphasis

17 added)); see also id. (stating order “requiring Wells Fargo to produce the documents before any

18 witnesses had testified was an abuse of discretion” (emphasis added)). Even the cases Dr. Rosendorff

19 cites for the proposition that Nixon applies to post-trial subpoenas apply the test in the context of a

20 defendant seeking documents in advance of the post-trial hearing. E.g., United States v. Krane, 625

21 F.3d 568, 574 (9th Cir. 2010) (applying Nixon when “pre-sentencing subpoena is sought” in advance of

22 a sentencing hearing (emphasis added)).

23          Even if the Nixon standard applied, Ms. Holmes is still entitled to the requested documents. The

24 requests are specific— they seek a discrete set of materials known to exist from a limited time period.

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26          The third Nixon factor is relevance, but Dr. Rosendorff does not argue that the requests fail to
   meet that factor. This is not surprising since the subpoena requests bear directly on the issues that are
27 the subject of the hearing.

28 MS. HOLMES’ OPPOSITION TO DR. ROSENDORFF’S MOTION TO QUASH SUBPOENA
   DUCES TECUM
   CR-18-00258 EJD
                                        2
             Case 5:18-cr-00258-EJD Document 1604 Filed 10/14/22 Page 4 of 7




 1 Dr. Rosendorff admits that communications about his trial testimony exist and it is undisputed that he

 2 has had interactions with the government. Mot. at 10-11. Ms. Holmes is not fishing to determine if Dr.

 3 Rosendorff made statements about his trial testimony or if he interacted with the government—she

 4 knows that he did—and seeks only the documentary proof that bears on the core issues of the hearing.

 5 Lastly, the evidence has “potential evidentiary uses” for the purpose of the hearing. Nixon, 418 U.S. at

 6 702. The rule against hearsay does not apply to evidentiary hearings. See Fed. R. Evid. 1101(d)(3)

 7 (stating that the Federal Rules of Evidence do not apply to “a preliminary examination in a criminal

 8 case”); United States v. Walker, No. 2:18-CR-37-FL-1, 2019 WL 4412909, at *4-5 (E.D.N.C. Sept. 13,

 9 2019). And even Dr. Rosendorff argues that in applying the Nixon factors to post-trial motions the

10 Court should apply them in the “specific context” in which the subpoena is issued. Mot. at 9.

11          The Requests Are Reasonable and Not Oppressive. The two limited requests at issue are

12 reasonable. The Court has explained that “[t]he purpose of the October 17, 2022 evidentiary hearing is

13 to explore the meaning of Dr. Rosendorff’s statements to Ms. Holmes’ partner, William Evans, and

14 whether any government misconduct occurred in regards to Dr. Rosendorff’s testimony,” Order, Dkt.

15 1599, at 1, including to explore whether “the government manipulated [him] in [his] preparation or in

16 any way in regards to [his] testimony” and whether he told the truth. 10/2/22 Hr’g 33:10-19. Requests

17 concerning his interaction with the government and its agents and his communications concerning his

18 trial testimony are narrowly tied to the subject of the inquiries and probative of those key issues.

19           The requests are not oppressive. Start first with Dr. Rosendorff’s correspondence regarding the

20 government. This is a reasonable request in view of the purpose of the hearing and should not be overly

21 burdensome. There are a limited number of government agents and prosecutors in this case. Searching

22 for communications regarding them that are not with his lawyer should not be a difficult task. This is

23 especially true since Ms. Holmes has not requested all communications regarding the prosecution team,

24 but rather communications beginning on September 24, 2021, the day that Dr. Rosendorff first took the

25 stand. The fact that Dr. Rosendorff would refuse to produce such communications in connection with a

26 hearing on potential government misconduct raises concerns.

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28 MS. HOLMES’ OPPOSITION TO DR. ROSENDORFF’S MOTION TO QUASH SUBPOENA
   DUCES TECUM
   CR-18-00258 EJD
                                        3
             Case 5:18-cr-00258-EJD Document 1604 Filed 10/14/22 Page 5 of 7




 1          Nor is the request for other communications about Dr. Rosendorff’s trial testimony oppressive or

 2 unreasonable. The communications requested are limited to the same time period and concern only

 3 statements about Dr. Rosendorff’s trial testimony. In his motion, Dr. Rosendorff states that he has

 4 received many communications from “friends, family, acquaintances, and even strangers” about this

 5 trial testimony. Mot. at 10. If he had met and conferred with defense counsel, defense counsel would

 6 have made clear that Dr. Rosendorff need only produce communications to which he responded and/or

 7 his own communications about his trial testimony. It would be surprising if Dr. Rosendorff were

 8 communicating extensively in writing about his trial testimony in non-privileged settings, although the

 9 possibility that he was communicating during or after his testimony with members of the media cannot

10 be discounted. But, if so, the fact that he corresponded extensively about his trial testimony does not

11 turn this narrow request into a broad one.

12          Dr. Rosendorff’s statements to Mr. Evans are inconsistent with his testimony at trial and raise

13 serious concerns of government misconduct. Ms. Holmes should have access to communications that

14 bear on that issue. Additionally, the failure to timely produce these documents could lead to further

15 proceedings if documents are received post-hearing that shed more light on these inconsistencies and his

16 statements to Mr. Evans.

17          Dr. Rosendorff lastly argues he has not been afforded sufficient time to respond to the subpoena

18 requests. Mot. at 11. He does not, however, identify the volume of communications at issue. Due to

19 the limited nature of the two requests, Dr. Rosendorff should have had ample time to collect the

20 documents by the October 17 hearing date. However, Ms. Holmes does not object to an adjournment of

21 the hearing for a period of time to allow Dr. Rosendorff to collect the documents. This position would

22 have been communicated to Dr. Rosendorff’s counsel if he attempted to meet and confer on these issues.

23                                               CONCLUSION

24          For the foregoing reasons, the Court should deny Dr. Rosendorff’s motion to quash.

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26 DATED: October 14, 2022

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28 MS. HOLMES’ OPPOSITION TO DR. ROSENDORFF’S MOTION TO QUASH SUBPOENA
   DUCES TECUM
   CR-18-00258 EJD
                                        4
         Case 5:18-cr-00258-EJD Document 1604 Filed 10/14/22 Page 6 of 7




 1                                         /s/ Amy Mason Saharia
                                           KEVIN DOWNEY
 2                                         LANCE WADE
                                           AMY MASON SAHARIA
 3
                                           KATHERINE TREFZ
 4                                         Attorneys for Elizabeth Holmes

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28 MS. HOLMES’ OPPOSITION TO DR. ROSENDORFF’S MOTION TO QUASH SUBPOENA
   DUCES TECUM
   CR-18-00258 EJD
                                        5
            Case 5:18-cr-00258-EJD Document 1604 Filed 10/14/22 Page 7 of 7




 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on October 14, 2022 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5                                                      /s/ Amy Mason Saharia
                                                        AMY MASON SAHARIA
 6                                                      Attorney for Elizabeth Holmes
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28 MS. HOLMES’ OPPOSITION TO DR. ROSENDORFF’S MOTION TO QUASH SUBPOENA
   DUCES TECUM
   CR-18-00258 EJD
